
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. &nbsp;2-10-174-CR





GAREK DON GRIFFITH								APPELLANT

V.

THE STATE OF TEXAS	STATE

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FROM THE 371
ST
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant's Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 Tex. R. App
. P.
 43.2(f). 

PER CURIAM



PANEL: GARDNER, WALKER, and MCCOY, JJ.



DO NOT PUBLISH

Tex. R. App
. P. 
47.2(b)



DELIVERED: June 3, 2010							

FOOTNOTES
1:See
 
Tex. R. App
. P.
 47.4.




